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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH



 LEWIS TILLEY,                                    JUDGMENT

        Plaintiff,                                Case No. 2:17-cv-01120-JNP-BCW
 v.
                                                  District Judge Jill N. Parrish
 MOUNTAIN AMERICA FEDERAL
 CREDIT UNION,

        Defendant.



       IT IS ORDERED AND ADJUDGED that Lewis Tilley’s EFTA cause of action is dismissed

with prejudice. Tilley’s remaining state-law causes of action are dismissed without prejudice.

       DATED September 26, 2018.


                                             BY THE COURT



                                             ______________________________
                                             Jill N. Parrish
                                             United States District Court Judge
